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                                                                     2                     IN THE UNITED STATES DISTRICT COURT
                                                                     3                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                     4
                                                                     5    IN RE: CATHODE RAY TUBE (CRT)            )   Master File
                                                                                                                   )   No. CV-07-5944 SC
                                                                     6    ANTITRUST LITIGATION                     )
                                                                                                                   )
                                                                     7                                             )   MDL No. 1917
                                                                                                                   )
                                                                     8                                             )   ORDER
                                                                                                                   )
                                                                     9    This document relates to:                )
                                                                                                                   )
                                                                    10    ALL DIRECT PURCHASER CASES               )
                                                                                                                   )
United States District Court
                          For the Northern District of California




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                                                                    12        On June 15, 2011, the Special Master in the above matter
                                                                    13   issued his Report and Recommendations on Motions Regarding Finished
                                                                    14   Products.   ECF No. 947 ("Report").      Defendants have filed a Motion
                                                                    15   to Adopt the Special Master's Report.         ECF No. 953.   Direct
                                                                    16   Purchaser Plaintiffs have filed an Objection to the Report.           ECF
                                                                    17   No. 963.
                                                                    18        The Court hereby ORDERS that the parties shall appear for a
                                                                    19   hearing on Defendant's Motion to Adopt the Report and Direct
                                                                    20   Purchaser Plaintiffs' Objection to the Report on September 2, 2011
                                                                    21   at 10:00 a.m. in Courtroom 1, on the 17th floor, U.S. Courthouse,
                                                                    22   450 Golden Gate Avenue, San Francisco, California 94102.
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                                                                    24        IT IS SO ORDERED.
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                                                                    26        Dated:   July 22, 2011
                                                                    27                                         UNITED STATES DISTRICT JUDGE
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